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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1787V
                                        (not to be published)


    JULIE SCHOTTLER,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: August 23, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On November 21, 2019, Julie Schottler filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration and/or brachial neuritis/plexitis as a result of the influenza vaccination she
received on November 23, 2016. (Petition at 1). On June 22, 2021, a decision was issued
awarding compensation to Petitioner based on the parties’ stipulation. (ECF No. 30).




1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated July 29, 2021
(ECF No. 35), requesting an award of $18,422.86 in attorney’s fees and costs for attorney
David Carney at Green & Schafle, LLC. Petitioner also requests attorney’s fees and costs
for prior attorney Kate Westad. Ms. Westad switched law firms twice during these
proceedings, incurring $5,958.47 in attorney’s fees and costs at Larkin Hoffman Law Firm
and $5,595.40 in attorney’s fees and costs at SiebenCarey, P.A. (Id. at 4). In accordance
with General Order No. 9, Petitioner filed a signed statement indicating that she incurred
no out-of-pocket expenses. (Id. at 25). Respondent reacted to the motion on July 29, 2021
indicating that he is satisfied that the statutory requirements for an award of attorney’s
fees and costs are met in this case but deferring resolution of the amount to be awarded
to my discretion. (ECF No. 36). Petitioner did not file a reply thereafter

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs as
follows:
          • A lump sum of $18,422.86, representing reimbursement for attorneys’
              fees and costs, in the form of a check payable jointly to Petitioner and
              Petitioner’s counsel, Green & Schafle, LLC;

            •   A lump sum of $5,958.47, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Larkin Hoffman Law Firm; and

            •   A lump sum of $5,595.40, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                SiebenCarey, P.A.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master

3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
